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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF GEORGIA
                                      ALBANY DIVISION

 KYDAISHA BURTON, individually and as               *
 Mother, Next Friend and Natural Guardian of
 K.B., her minor child, et al.,                     *
                                                        Case No. 1:20-CV-029 (LAG)
                       Plaintiffs,                  *
 v.
                                                    *
 PHOEBE PUTNEY HEALTH SYSTEM, INC.,
 et al.,                                            *

                       Defendants.
                                          JUDGMENT

       Pursuant to this Court’s Order dated May 14, 2020, and for the reasons stated therein, JUDGMENT

is hereby entered remanding this case to the Superior Court of Dougherty County, Georgia.

       This 15th day of May, 2020.

                                           David W. Bunt, Clerk


                                           s/ M. Danielle Morrow, Deputy Clerk
